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                                                                                           FILED IN CHAMBERS
                                                                                                    U.S.D.C. -Atlanta

                                            UNITED STATES DISTRICT COURT                            FEB 0 5" 2015          -1
                                                                                                                            .
                                            NORTHERN DISTRICT OF GEORGIA                          James N. Hatten, Clerk
                                                                                                                            i:


                                                  ATLANTA DIVISION                          By·
                   rH\·nEN, C\ef�                                                          l<�eputyClerk
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"'       1,   �1'.M-r€pu\y Clerk
     OJ:,-
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                '""t itACtELIAS and DAPHNE                 )
                 MOTLEY, and others similarly              )
                 situated,                                 )
                                                           )     CIVIL ACTION
                              Plaintiffs,                  )     FILE NO: 1:14-CV-00096-LMM
                                                           )
                 vs.                                       )     FAIR LABOR STANDARDS ACT
                                                           )     ACTION
                 KIMBERLY-CLARK                            )
                 GLOBAL SALES, LLC,                        )
                                                           )
                              Defendant.                   )

                          JOINT MOTION TO SEAL CONFIDENTIAL SETTLEMENT
                                           AGREEMENT

                         Plaintiffs Traci Elias and Daphne Motley (collectively "Plaintiffs") and


               Defendant Kimberly-Clark Global Sales, LLC ("Kimberly-Clark" or "Defendant")


               respectfully move the Court for an order permitting the parties to file under seal


               their Confidential Settlement Agreement.          In support of this Motion, the parties


               state as follows:


                         1.        In a private action between the employer and employee, the court may


               approve any settlement that is "fair, adequate and reasonable . . . and is not the


               product of collusion between the parties." Bennett       v.   Behring Corp., 737 F.2d 982,

               986 (11th Cir. 1984). Determining the fairness of the settlement is left to the sound


               discretion of the trial court. Id.



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          2.   The parties have entered into a Confidential Settlement Agreement


and have agreed to keep its terms confidential. The parties believe that good cause


exists to file the document under seal because of the sensitive, confidential


information contained within the agreement.


          3.   The parties filed a Joint Motion for Approval of Settlement and


Dismissal, in which they seek judicial approval of the Confidential Settlement


Agreement.      A copy of the Confidential Settlement Agreement is attached hereto


as Exhibit A and submitted to the Court for   in camera review.

          4.   The Court may hold a telephone conference to discuss the parties'


request to seal the settlement agreement and order that the settlement agreement be


maintained by the Clerk under seal.   (See ECF No.   28.)


          5.    For reasons that will be more fully set forth during the telephone


conference, the parties request that the Court hold a telephone conference to


discuss the confidential nature of the agreement and subsequently order that the


Confidential Settlement Agreement be filed under seal.


          WHEREFORE, Plaintiffs and Defendant request the Court to enter an order


sealing the attached Confidential Settlement Agreement and to further order the


Clerk, upon entry of an order granting the parties' Joint Motion for Approval of


Settlement and Dismissal, to not place the attached Confidential Settlement


Agreement in the public file at any time.



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Dated: January    29, 2015                 Respectfully submitted,




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